Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 1 of 9 PageID #: 501




                                  No. 6:24-cv-00306

                              State of Texas et al.,
                                    Plaintiﬀs,
                                        v.
              United States Department of Homeland Security et al.,
                                   Defendants.


                                      ORDER

              In this case, 16 States challenge a final rule recently issued by
          the Department of Homeland Security that creates a process for
          granting “parole in place” under the immigration laws to a certain
          subset of aliens who are unlawfully present in the country. DHS,
          Implementation of Keeping Families Together, 89 Fed. Reg. 67,459
          (Aug. 20, 2024). Familiarity with that rule is presumed.
               Plaintiffs move for a temporary restraining order, a prelimi-
          nary injunction, and a stay of the rule’s implementation. Doc. 3.
          Defendants move for jurisdictional discovery, a stay of briefing,
          and a scheduling order. Doc. 9. Lastly, 12 parties move to inter-
          vene as defendants, two of them pseudonymously. Doc. 15. The
          court now enters (1) temporary, equitable relief for 14 days, re-
          newable for good cause or upon consent, and (2) a case schedule
          ordering expedited proceedings on preliminary and permanent re-
          lief. Defendants’ motion for discovery and a case schedule (Doc.
          9) is granted to the extent specified here and otherwise denied.
          Plaintiffs’ motion (Doc. 2) to expand page limits is granted to the
          extent specified below. All other motions remain pending.

          1. Administrative stay of parole issuance under the rule
             Temporary, injunctive relief based significantly on case-ad-
          ministration needs is sometimes called an “administrative stay.”
          United States v. Texas, 144 S. Ct. 797, 798 (2024) (Barrett, J., con-
          curring) (distinguishing between a stay pending a court of


                                    -1-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 2 of 9 PageID #: 502




          appeals’ final judgment in a case and a “temporary administrative
          stay” that reflects a “first-blush judgment about the relative con-
          sequences of [blocking agency action, by a stay of an injunction
          against it] versus allowing it to go into effect”). When considering
          such a stay in that posture, the traditional four factors governing
          preliminary relief lasting through final judgment are “obviously
          on the court’s radar” and can thus “influence the stopgap deci-
          sion, even if they do not control it.” Id. at 799. But there is no
          “one-size-fits-all test that courts apply before entering” such an
          administrative stay. Id. Instead, “as a flexible, short-term tool,”
          the remedy is a “prelude to the main event” of a ruling that fully
          considers the four factors for a injunction lasting through final
          judgment (essentially the same as the four factors for an injunc-
          tion in a final judgment, but assessed at a different point in time).
          Id. See generally eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388,
          391 (2006) (reciting the four-factor, equitable test for a permanent
          injunction).
              The authority for an administrative stay arises from the All
          Writs Act and a court’s inherent authority to manage its docket.
          Texas, 144 S. Ct. at 798 (Barrett, J., concurring) (citing Rachel
          Bayefsky, Administrative Stays: Power and Procedure, 97 Notre
          Dame L. Rev. 1941, 1942 (2022)). The All Writs Act authorizes
          federal courts to issue all writs necessary or appropriate in aid of
          their respective jurisdiction and agreeable to the usages and prin-
          ciples of law. 28 U.S.C. § 1651(a).
              It has long been accepted that a court’s authority under the
          All Writs Act includes ordering temporary, injunctive relief to
          preserve the status quo pending prompt review of an agency’s ac-
          tion through existing channels. FTC v. Dean Foods Co., 384 U.S.
          597, 604 (1966) (citing authority such as Scripps-Howard Radio,
          Inc. v. FCC, 316 U.S. 4 (1942)); see, e.g., Nat’l Treas. Emps. Union
          v. King, 961 F.2d 240, 245 (D.C. Cir. 1992) (ordering a three-
          month administrative stay after balancing the need for proceed-
          ings against the possibility of irreparable loss during lengthy liti-
          gation); Astrazeneca Pharms. LP v. Burwell, 197 F. Supp. 3d 53, 59



                                          -2-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 3 of 9 PageID #: 503




          (D.D.C. 2016) (entering a temporary restraint on an agency’s re-
          lease of its decision to “provide a brief window for judicial review
          while imposing the smallest possible effect on the FDA’s usual
          processes and the rights and expectations of all of the parties to
          the proceeding”).
              In that way, an administrative stay has similarities to a tempo-
          rary restraining order, whose function is to “preserve the status
          quo until there is an opportunity to hold a hearing on the applica-
          tion for a preliminary injunction.” Charles Alan Wright et al., Fed-
          eral Practice and Procedure § 2951 (3d ed.). Speed of adjudication
          is obviously of importance to both an administrative stay and a
          TRO. Cf. Granny Goose Foods, Inc. v. Teamsters Local No. 70, 415
          U.S. 423, 439 (1974) (noting that, if TROs are issued without no-
          tice to the opposing parties, they “should be restricted to serving
          their underlying purpose of preserving the status quo and pre-
          venting irreparable harm just so long as is necessary to hold a
          hearing, and no longer”).
              If a TRO is issued without notice to the opposing party (i.e.,
          ex parte), then Federal Rule of Civil Procedure 65(b) limits the
          duration of the order to an initial period of 14 days. In contrast,
          when the opposing party has notice of the motion for a TRO, Rule
          65(b) does not apply. But courts often apply the 14-day durational
          limit as a sound exercise of judicial discretion when the focus is
          on allowing time to adequately prepare for a hearing. Wright, su-
          pra, at § 2951.
              Here, the court sees fit to issue an administrative stay. As in
          the United States v. Texas stay litigation cited above, the court has
          undertaken a first-blush review of the merits of plaintiffs’ stand-
          ing and cause of action in light of the evidence submitted with
          their motion for a TRO and a stay. The claims are substantial and
          warrant closer consideration than the court has been able to afford
          to date. That conclusion is particularly based on the need to ana-
          lyze (1) whether parole “into” the United States, 8 U.S.C.
          § 1182(d)(5)(A), includes entry by aliens who are already in this
          country, as opposed to at or beyond the border; and (2) the rule’s


                                          -3-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 4 of 9 PageID #: 504




          possible misapprehension of the legal standard in focusing on sig-
          nificant public benefit from “this process,” 89 Fed. Reg. at 67,475
          (identifying perceived policy benefits from a new process for gain-
          ing LPR status that is less burdensome than the statutory depart-
          and-apply-abroad process for non-parolees), rather than whether
          a specific alien’s lawful presence in the country would have pub-
          lic, as opposed to private, benefit that is significant. See generally
          id. at 67,475 (stating a goal of the rule’s process as “removing a
          barrier to an immigration benefit” of LPR status, and thus focus-
          ing on judgments about Congress’s policies rather than how a par-
          ticular alien’s presence in the country achieves significant benefit
          to the public); id. at 67,476 (setting the parole term as three years
          based simply on allowing enough time to complete other immigra-
          tion process); id. at 67,479 (defining the costs of the rule not to
          include educational costs borne by the States on the theory that
          the relevant aliens are already present in the country and attend-
          ing school, even though the agency’s premise for rulemaking is
          that, without the rule, some of those aliens would depart the
          country to apply for admission abroad).
              The court does not, however, express any ultimate conclu-
          sions about the success or likely success of those claims. As with
          most administrative stays, the court has simply undertaken a
          screening, “first-blush” review of the claims and what is at stake
          in the dispute. Texas, 144 S. Ct. at 798 (Barrett, J., concurring).
               Just as important to the court’s analysis is preserving its juris-
          diction to enter complete relief for plaintiffs should their lawsuit
          ultimately prove meritorious, without losing the chance for com-
          plete relief by taking the time necessary to fully consider the mer-
          its or likely merits of this action. Plaintiffs’ theory of harm sounds
          in costs that they will bear from the continued unlawful presence
          of aliens, some of whom would depart the country to pursue con-
          sular process abroad without the parole-in-place rule. That is a
          two-step theory of causation: the rule affects a certain subset of
          aliens, and that subset’s action or inaction then imposes cogniza-
          ble costs on the plaintiff States.



                                           -4-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 5 of 9 PageID #: 505




              Affording relief on that theory of causation would seem to re-
          quire negating the parole benefit possible under this rule. And the
          court does not presently perceive how to practicably unwind pa-
          role once issued to an alien, given that the grant of that benefit
          occasions reliance interests such as applications for work author-
          ization and in some cases adjustment of status. Accordingly, pre-
          serving the court’s ability to grant full relief to plaintiffs (or as full
          as is practicable at this time) seems to require enjoining the agency
          from granting parole under the rule’s process for a short time, to
          allow review of plaintiffs’ entitlement to at least preliminary in-
          junctive relief controlling through entry of final judgment. The
          court therefore orders such an administrative stay.
              At the same time, the agency’s mere acceptance of applica-
          tions for “parole in place” under the rule and its mere issuance of
          a form for seeking that benefit do not seem to pose the same prac-
          tical risks of irreversibility as would the actual grant of parole in
          place. So this administrative stay does not apply to the agency’s
          creation of a process for seeking parole in place under the rule, as
          opposed to the granting of parole in place under the rule.
              The burdens to the opposing parties of this temporary, admin-
          istrative stay do not tip the equities the other way. As noted, aliens
          will still be able to apply for parole in place under the rule during
          this short stay. And given that spouses who may seek relief under
          this rule have, by definition, not left the country during the past
          ten years, the court perceives a minimal risk that requiring them
          to wait a short, additional period will cause a departure from the
          country during this short stay. A similar prediction applies to step-
          children who may be eligible under the rule.
               An administrative stay and a temporary restraining order (as-
          suming that they are doctrinally separate) must last only as long
          as needed to promptly decide on the plaintiff’s entitlement to re-
          lief controlling through final judgment. In an exercise of its dis-
          cretion, the court will initially limit this stay to 14 days. That stay
          may be extended for a like period, however, for good cause or if all




                                            -5-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 6 of 9 PageID #: 506




          adverse parties consent to a longer extension. See Fed. R. Civ. P.
          65(b)(2).
              The court enters below an expedited schedule for the discov-
          ery that defendants seek on standing and for resolving the merits
          of this action. The discovery schedule proposed by defendants
          would not conclude until October 23, 2024. Doc. 9 at 3. The
          court’s schedule below is even more expedited. The court thus
          expects that good cause may exist to extend this administrative
          stay for additional periods through mid-October and that, indeed,
          the parties may consent to such an extension. But any such exten-
          sion will be considered in due course.

          2. Scheduling order
             The court now enters the following deadlines to control the
          progression of this case.
              a. The Fifth Circuit has directed that any forum disputes
          should be the “top priority” in handling a case. In re Horseshoe
          Ent., 337 F.3d 429, 433 (5th Cir. 2003). Consistent with that guid-
          ance, the court sets the following schedule for early presentation
          of any forum-related matters:
             •   August 28, 2024—Deadline to file any motions related to
                 venue or forum.
             •   August 30, 2024—Deadline to respond to any such mo-
                 tion.
             •   September 2, 2024—Deadline to reply on any such mo-
                 tion.
             b. The court sets the following schedule for resolution of the
          proper parties in this lawsuit:
             •   August 28, 2024—Deadline for any motions to intervene
                 and motions to proceed pseudonymously. The pending
                 motions need not be re-filed.
             •   August 30, 2024—Deadline to respond to any such mo-
                 tion.




                                         -6-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 7 of 9 PageID #: 507




             •   September 2, 2024—Deadline to reply on any such mo-
                 tion.
              c. The court has a duty to establish “early and continuing
          control so that the case will not be protracted because of lack of
          management.” Fed. R. Civ. P. 16(a)(2). It appears to the court that
          the merits of plaintiffs’ claims present only legal disputes about
          agency action, making this “an action for review on an adminis-
          trative record” exempt from initial disclosures. Fed. R. Civ. P.
          26(a)(1)(B)(i).
              It also appears to the court that, just as initial disclosures are
          dispensed with, no other discovery is necessarily occasioned by
          plaintiffs’ causes of action because (1) there was no notice-and-
          comment process that would add to the administrative record ma-
          terials beyond those in the rulemaking and (2) any data underlying
          the agency’s decision and not appearing in the Federal Register
          publication of the final rule would be immaterial to plaintiffs’
          challenges, which turn on the agency’s published rationale. See
          Sierra Club v. U.S. Fish & Wildlife Serv., 245 F.3d 434, 440 n.37
          (5th Cir. 2001) (stating that statutory construction is “a task
          which we are competent to perform without the administrative
          record”).
              The court appreciates, however, that defendants seek discov-
          ery into factual matters that may bear on plaintiffs’ standing. And
          the court appreciates that, if the pending motion for intervention
          is granted, the intervenors-defendants may seek to share in that
          discovery.
              The court’s impression is that any discovery on factual mat-
          ters related to standing can reasonably be conducted within a
          short time if the court opens discovery for 21 days and is available
          to rule promptly on discovery disputes. The court thus authorizes
          the parties to begin discovery now pursuant to Federal Rule of
          Civil Procedure 26(d)(1). The court limits the notice and re-
          sponse periods for discovery under Federal Rules of Civil Proce-
          dure 27–36 from 21 and 30 days to 5 calendar days. The parties



                                           -7-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 8 of 9 PageID #: 508




          are ordered to immediately confer on discovery and reach all nec-
          essary agreements to complete discovery by September 16, 2024.
             The deadline to complete service of process or file a waiver of
          service of process under Federal Rule of Civil Procedure 4 is Sep-
          tember 6, 2024. Parties are reminded of the background duty to
          avoid the unnecessary expenses of serving the summons. See Fed.
          R. Civ. P. 4(d). Under Federal Rule of Civil Procedure 12(a)(1),
          any answer by defendants or intervenors-defendants is due by
          September 9, 2024.
              The court also believes that this is an appropriate case to “ad-
          vance the trial on the merits and consolidate it with the hearing”
          on the motion for a preliminary injunction, under timing that does
          not unduly delay resolution of the request for injunctive relief.
          Fed. R. Civ. P. 65(a)(2). The court has used that procedure in
          prior litigation. And both Texas and the federal government have
          elsewhere expressed their openness to that procedure in litigation
          in a similar posture. See Tr. of Feb. 21, 2023 Mot. Hr’g (Doc. 69)
          at 6–7, Texas v. DHS, No. 6:23-cv-00007 (S.D. Tex.). The court
          therefore gives notice of that consolidation. See Univ. of Tex. v.
          Camenisch, 451 U.S. 390, 395 (1981). The administrative record
          shall be prepared and served by September 9, 2024.
              Because summary judgment is very often “the mechanism for
          deciding, as a matter of law, whether the agency action is sup-
          ported by the administrative record and otherwise consistent with
          the APA standard of review,” Cottage Health Sys. v. Sebelius, 631
          F. Supp. 2d 80, 90 (D.D.C. 2009), the court gives notice under
          Federal Rule of Civil Procedure 56(f )(3) that it will consider sum-
          mary judgment granting permanent relief (whether a declaration,
          an injunction, an order setting aside the rule, or relief in defend-
          ants’ favor) on the same schedule as it considers plaintiffs’ motion
          for a preliminary injunction. Plaintiffs’ motion for leave to file ex-
          cess pages (Doc. 2) is granted, and plaintiffs are also allowed until
          September 17, 2024, to supplement and replace their pending mo-
          tion for a preliminary injunction (Doc. 3) with additional briefing
          and attachments pertinent to summary judgment, including any


                                          -8-
Case 6:24-cv-00306-JCB Document 27 Filed 08/26/24 Page 9 of 9 PageID #: 509




          “parts of [the administrative record] cited by” plaintiffs in sup-
          port of judgment in their favor. 5 U.S.C. § 706. Any such supple-
          mented motion shall address both preliminary relief and perma-
          nent relief (on summary judgment or at a bench trial) and shall
          not exceed 60 pages, exclusive of any parts of the administrative
          record relied on and of any other attachments. Both parties are
          excused from Local Rule CV-56(a)’s statements.
              Defendants are allowed until September 26, 2024, to file brief-
          ing on plaintiffs’ request for preliminary relief and a motion and
          responsive briefing on summary judgment in favor of either party.
          Any such motion and briefing seeking or opposing preliminary or
          permanent relief must be filed in a single document also not to
          exceed 60 pages, exclusive of any parts of the administrative rec-
          ord relied on and of any other attachments. All parties repre-
          sented by the same counsel may not file more than one such doc-
          ument.
              Plaintiffs are then allowed until October 3, 2024, to respond
          and reply on those matters, in a single document not to exceed 30
          pages. And defendants are allowed until October 10, 2024, to file
          any reply in support of summary judgment in their favor, which
          also must not exceed 30 pages. All parties represented by the same
          counsel may not file more than one such document.
              The court will set an expedited hearing on preliminary relief
          and summary judgment, and if necessary a consolidated bench
          trial, on a date as soon as possible after completion of that brief-
          ing. That should allow for prompt, efficient resolution of the case
          before any significant burden from the administrative stay. This
          order may be modified on any party’s motion for good cause that
          accounts for any consent to extend the administrative stay.
                                   So ordered by the court on August 26, 2024.



                                                J. C A M PB EL L B A RK ER
                                                United States District Judge




                                          -9-
